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Form dn009certmdsch (Rev. 4/17)




                                  UNITED STATES BANKRUPTCY COURT
                                       Southern District of Mississippi
                                             Case No.: 14−02150−NPO
                                                   Chapter: 13

In re:

    Lonnie P Walker                                         Aretha R Walker
    1060 Old Hwy 27 Rd. #1                                  1060 Old Hwy 27 Rd. #1
    Crystal Springs, MS 39059                               Crystal Springs, MS 39059




To: Debtor and his attorney, if any:

                                                 Notice of Deficiency

Notice is hereby given that the Debtor and Joint Debtor have not filed a Certification and Motion for Entry of
Discharge (the "Certification/Motion") as directed by the Clerk's "Notice of Requirements to File Certification and
Motion for Entry of Discharge" issued October 20, 2018.

You are further notified, unless the Certification/Motion is filed prior to the filing of the Chapter 13 Final Report
and Account, the above−referenced case will be closed without discharge and without further notice from the Court.*

The Certification/Motion (Local Form MSSB−M13−1) is available on the Court's Website at
www.mssb.uscourts.gov.


Dated: November 20, 2018                        Danny L. Miller, Clerk of Court
                                                501 East Court Street, Suite 2.300
                                                P.O. Box 2448
                                                Jackson, MS 39225−2448
                                                601−608−4600


*If the case is closed and the debtor still seeks a discharge, a motion and notice to reopen the case to allow the
debtor to file Certification and Motion for Entry of Discharge and the accompanying filing fee will be required.
